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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                              Chapter 7

 AKORN HOLDING COMPANY LLC, et al.,
                                                     Case No. 23-10253 (KBO)
                               Debtors
                                                     (Jointly Administered)

  PROTECTIVE OBJECTION OF EVOQUA WATER TECHNOLOGIES LLC TO NOTICE OF
                SALE OF ASSETS, AUCTION AND SALE HEARING

          Evoqua Water Technologies LLC (“Evoqua”), by its undersigned counsel, hereby files

its Protective Objection to Notice of Sale of Assets, Auction and Sale Hearing and in support

thereof, states as follows:

                                          Background

          1.    Evoqua Water Technologies LLC is a limited liability company organized

under the laws of the State of Delaware with its principal place of business in Pittsburgh,

Pennsylvania.

          2.    Pursuant to a certain Maintenance Agreement originally entered into by

Evoqua’s predecessor and Debtor Akorn Operating Company’s predecessor dated December

26, 2012, Evoqua provided certain deionization exchange tanks for use in Debtor Akorn’s

operations in Amityville, New York. A true and correct copy of such Maintenance Agreement

is attached hereto and made a part hereof as Exhibit “A”.

          3.    As required by Debtor’s operations (and intended by the parties to the

Maintenance Agreement), Evoqua would supply certain tanks to Debtor and would replace

the tanks on a regular basis. At the time of the commencement of Debtor’s bankruptcy case,

Evoqua had provided 4 “super tanks” and 38 smaller tanks (3.6 cubic feet) for use and on

site at Debtor’s Amityville location (“Subject Tanks”).
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       4.     Evoqua representatives have been attempting to clarify the status of the

Subject Tanks (and the return thereof) with Debtor representatives. However, due to, inter

alia, the abrupt closing of Debtor’s operation in Amityville, Evoqua representatives have not

been successful in reaching appropriate Debtor representatives.

                                    Protective Objection

       5.     Debtors have filed a Notice of Sale of Assets, Auction and Sale Hearing (Doc.

No. 145) by with the Chapter 7 Trustee (appointed in this case) notified interested parties,

et al., of a pending Auction and Sale Hearing relating to the sale of all or substantially all of

the Debtors’ assets.

       6.     It is not clear from Court filings whether the Subject Tanks have been or will

be included in the assets to be offered for sale in this process.

       7.     Counsel for Evoqua has been in contact with counsel for the Trustee

concerning these details but to date, no final resolution of the issues related hereto has been

reached.

       8.     Evoqua hereby reserves all of its rights to the Subject Tanks and if necessary,

seeks either (1) a determination by this Court or (2) confirmation by the Trustee that the

Subject Tanks will be excluded from any sale proposed and finalized by the Debtors estate.




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       WHEREFORE, Evoqua Water Technologies LLC respectfully requests that in the event

a sale of Debtors’ assets is ultimately effectuated, that none of the Subject Tanks are included

with any of the assets to be transferred to a subsequent Buyer.

                                            Respectfully submitted,
                                            DICKIE, McCAMEY & CHILCOTE, P.C.


                                            By /s/ Samuel R. Grego
                                                   Samuel R. Grego, Esquire
                                                   Paul A. Roman, Jr., Esquire

                                            Two PPG Place, Suite 400
                                            Pittsburgh, PA 15222
                                            (412) 281-7272

                                            William R. Adams, Esquire
                                            DICKIE, McCAMEY & CHILCOTE, L.C.
                                            222 Delaware Avenue, Suite 1040
                                            Wilmington, DE 19801-1621

                                            Counsel for Evoqua Water Technologies LLC
Date: May 16, 2023




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